____ FILED ___ ENTERED
____ LOGGED _____ RECEIVED
          MG USAO 2020R00744
2:38 pm, Dec 01 2020                                                                               1:20-mj-3027 TMD
AT BALTIMORE
CLERK, U.S. DISTRICT COURT      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
DISTRICT OF MARYLAND
BY ______________Deputy
                   I, Special Agent Natt Otterson of Homeland Security Investigations (HSI), being duly

          sworn, deposes and states as follow in support of a criminal complaint against and arrest warrant

          for Raymond DRUMGOOLE, year of birth 1986.

                                                 AFFIANT BACKGROUND

                   1.          I am an investigative law enforcement officer of the United States within the

          meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United States

          who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

          in Section 2516 of Title 18.

                   2.          I am currently assigned to the Transnational Organized Crime/Gang Unit (“TOC”)

          of the Baltimore, Maryland field division of HSI and have been assigned to the TOC for over three

          years. I have been a Special Agent with HSI since November 2010. I was previously assigned to

          the Falcon Dam, Texas HSI Office for over six years, where I conducted multi-national drug and

          money laundering investigations. I am a graduate of Eastern Connecticut State University with a

          Bachelor of the Arts Degree in Sociology.

                   3.          In November of 2010, I graduated from the Federal Law Enforcement and Training

          Center (“FLETC”) in Glynco, Georgia. In June of 2017, I graduated from advanced gang training

          at FLETC. During training, I received detailed instruction in various topics, including

          Constitutional Law, Criminal Law, Investigative Resources, Investigative Techniques, Gang

          Investigations, Social Media Exploitation, and the Preparation of Search and Seizure Warrants.

                   4.          I have conducted numerous state and federal investigations that involved narcotics

          smuggling, money laundering, and transnational gangs. In furtherance of these investigations, I

          have utilized confidential informants, undercover transactions, physical surveillance, telephone
                                                                                    1:20-mj-3027 TMD


analysis, investigative interviews, and the execution of search warrants. I have reviewed taped

conversations, as well as documents and other records relating to narcotics trafficking and money

laundering. I have examined records of buyers and sellers lists and pay/owe ledgers. I have

interviewed drug dealers, drug users, and confidential informants, and have discussed with them

the lifestyles, appearances, and habits of drug dealers and users. I have authored and executed

search and seizure warrants related to controlled substances and firearms violations. I have also

been involved in and authored more than twenty affidavits in support of the interception of wire

and electronic communications in the Southern District of Texas and the District of Maryland.

       5.      During these wiretap investigations, I have listened and/or reviewed thousands of

intercepted text message conversations and phone calls between individuals involved in narcotics

and/or other conspiracies. I have participated in numerous debriefings of narcotic traffickers,

confidential informants, and sources of information. Consequently, I have gained a working

knowledge of drug language and terminology commonly used by drug dealers. I have also

conducted numerous controlled purchases of controlled dangerous substance (“CDS”). I have

participated in several covert undercover operations that have resulted in large seizures of CDS,

weapons, vehicles, currency, and other forms of drug proceeds. These investigations have resulted

in seizures of over 25,000 pounds of marijuana, 250 kilograms of cocaine, more than $10,000,000,

and the arrest, indictment, and conviction of over 50 subjects.

       6.      As an HSI Special Agent, I have participated in numerous investigations of drug

trafficking where I: (a) participated in surveillance of drug dealers and others involved in drug

trafficking (b) applied for search warrants and arrest warrants; (c) executed search warrants; (d)

seized evidence related to drug trafficking, including substantial quantities of narcotics and drug

paraphernalia; and (e) debriefed informants and cooperating witnesses. In addition, I have



                                                 2
                                                                                                 1:20-mj-3027 TMD


interviewed drug dealers, drug users, and confidential informants, and among the topics covered

during those interviews are the lifestyle, appearance, and habits of drug dealers and users.

Moreover, I have reviewed taped conversations, documents, and other records relating to drug

trafficking and money laundering.

        7.       I submit this Affidavit for the limited purpose of establishing probable cause to

support the issuance of a Criminal Complaint charging Raymond DRUMGOOLE with violations

of Title 21 U.S.C. § 841, Possession with Intent to Distribute and Distribution of a Controlled

Substance. Because I submit this affidavit for the limited purpose of establishing probable cause

to support the issuance of a Criminal Complaint, it only contains a summary of relevant facts. I

have not included every fact known to me concerning the entities, individuals, and the events

described in this Affidavit.

        8.       All information contained in this Affidavit is either personally known to me, has

been related to me by other law enforcement officers, and/or has been obtained from records,

documents, and other sources gathered during this investigation.

                                           PROBABLE CAUSE

        9.       On September 4, 2020, at around 1:00 PM, a confidential informant (the CI)1 went

to the BP Gas Station, located at 2801 Edmonson Ave, Baltimore, MD and encountered a heavyset

black male, who, at that time, was unknown to law enforcement (the UM). This BP Gas Station is

in the middle of an open-air drug market. During a conversation between the CI and the UM, the

UM he stated he “ran the area” and could get any type of controlled substance that the CI sought

to purchase. The UM claimed that currently it was difficult to obtain cocaine because the border



1
  The CI is currently in the country illegally and has criminal convictions for Assault First Degree and Reckless
Endangerment. In exchange for the undercover work, he/she is being allowed to remain in the United States and has
received $495 thus far.

                                                        3
                                                                                       1:20-mj-3027 TMD


was shut down, but that he had $200,000 available to spend to purchase bulk cocaine. The UM

then showed the CI a firearm and wad of cash. The UM provided the CI with a phone number and

told the CI to call him if the CI sought to purchase any drugs. The UM also told the CI to call him

if he had any connections to individuals seeking to sell bulk quantities of cocaine.

        10.     The CI subsequently used the phone number provided by the UM to arrange for

multiple purchases of controlled substances from the UM. For example, on September 14, 2020,

the CI agreed to meet the UM in the area of 2801 Edmonson Ave, Baltimore, MD, so that the UM

could sell the CI $500 worth of fentanyl. In an ensuing text exchange, the CI told the UM that

she/he would be in the area of the meet location around 2:00 PM later that day to complete the

purchase. Later that day, I met with the CI who received $500 in funds for the purpose of

purchasing fentanyl from the UM. The CI was provided with an audio recording device and

followed to the area of the BP Gas Station. At 2:41 PM, agents observed the UM arrive in a red

Honda mini-van. The UM got into the CI’s vehicle, engaged in a short discussion, and then both

individuals left the area.

        11.     Agents met with the CI, retrieved the recording device, and the $500 in funds

previously given to the CI. The CI explained that the UM had stated that he needed additional time

to gather the drugs, and that the plan was to meet at the same location at approximately 5:00 PM

later that day. At approximately 5:04 PM, the CI again attempted to conduct a controlled purchase

in the area of 2801 Edmonson Ave, Baltimore, MD from the UM. At 5:15 PM, the UM told the CI

to relocate to the Crown Gas Station, which is just south of the BP Gas Station. Agents observed

the same mini-van backed into a parking spot at the BP Gas Station, leave the parking lot, enter

the pump area of the Crown Gas Station, and park at the pump. At 5:22 PM, the CI and the UM

met, resulting in the sale of 97 wax packets to the CI. The substance contained in those packets



                                                 4
                                                                                                    1:20-mj-3027 TMD


were later tested by the DEA Lab in Largo, MD, and the substance tested positive for fentanyl, a

schedule II controlled substance.

         12.      On September 29, 2020, agents again met with the CI who was provided with $500

in funds for the purpose of purchasing fentanyl from the UM. The CI was also provided with an

audio recording device and followed to the area of the BP Gas Station. Later that morning, the UM

arrived in a white Ford Explorer. The UM went directly to the CI’s vehicle, and entered the

passenger’s side door. Soon thereafter, the UM exited the vehicle and left the area followed by the

CI. Agents met with the CI retrieved the recording device and 74 glass vials that the CI had bought

from the UM. The substance in the vials was later field tested at the DEA Lab, and the substance

tested positive for the presence of fentanyl.

         13.      During both controlled purchases, the UM showed up in a vehicle registered to

Raymond DRUMGOOLE, born in 1986. Accordingly, agents showed the CI a Maryland

Department of Motor Vehicle picture of DRUMGOOLE. The CI positively identified the DMV

picture of DRUMGOOLE as being the UM who had sold him the drugs.2

         14.      On November 20, 2020, agents again met with the CI who was provided with $750

in funds for the purpose of purchasing heroin from DRUMGOOLE. The CI was also provided

with an audio recording device and followed to the area of the Crown Gas Station. That afternoon,

DRUMGOOLE arrived in a blue Ford Fusion. DRUMGOOLE went directly to the CI’s vehicle,

and the two individuals began to speak around the gas pump. After the CI provided DRUMGOOLE

with $750, DRUMGOOLE went back to his car and sat in it for some time. DRUMGOOLE then




2
  Immediately following their initial meet on September 4, 2020, the CI misidentified the UM as another person. Since
that time, the CI as well as multiple federal agents conducting nearby surveillance of the UM and the controlled
purchases have identified the UM as DRUMGOOLE. And, as mentioned above, the vehicles used during the
controlled purchases on September 14 and 29, 2020 were registered in DRUMGOOLE’s name.

                                                         5
                                                                                      1:20-mj-3027 TMD


exited his car and returned to the gas pump where the CI was standing and provided the CI with

21 grams of a brown substance in a sandwich baggie.

         15.   Agents met with the CI and retrieved the recording device and 12 grams of a brown

substance, which later field tested positive for the presence of heroin. Final analysis of the brown

substance is pending results from the DEA Lab. During surveillance, I observed DRUMGOOLE

arrive and interact with the CI.

         16.   Based on the foregoing facts, I believe probable cause exists to support the issuance

of a Criminal Complaint and arrest warrant charging Raymond DRUMGOOLE with Possession

with Intent to Distribute, and Distribution of Controlled Substances, in violation of Title 21 U.S.C.

§ 841.




                                                      Special Agent Natt Otterson
                                                      Homeland Security Investigation



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4(d) this           day of December, 2020



                                                      _________________________________
                                                      Hon. Thomas M. DiGirolamo
                                                      United States Magistrate Judge




                                                 6
